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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                             SOUTHEASTERN DIVISION

UTICA MUTUAL INSURANCE                        )
COMPANY,                                      )
                                              )
            Plaintiff,                        )
                                              )
      vs.                                     )         Case No. 1:24-cv-00146-MTS
                                              )
CHAP ARNOLD INSURANCE                         )
AGENCY, LLC, et. al,                          )
                                              )
            Defendants.                       )

                            MEMORANDUM AND ORDER

       This matter is before the Court on review of Defendant Chap Arnold LLC’s (“Chap

Arnold”)’s Response to the Court’s February 21, 2025, Order, Doc. [44], the parties’ Joint

Response to the Court’s March 17, 2025, Show Cause Order, Doc. [46], and Plaintiff Utica

Mutual Insurance Company (“Utica”)’s unopposed Motion for Leave to Conduct Limited

Jurisdictional Discovery, Doc. [38]. For the reasons that follow, the Court will grant Utica

forty-five (45) days to conduct jurisdictional discovery concerning the citizenship of

Defendant Chap Arnold, including the identity and states of citizenship of its members and

sub-members.

                                             *

       Whether this Court has subject matter jurisdiction over this matter has been a

persistent issue. On July 30, 2024, Utica filed a Complaint asserting that this matter falls

within the Court’s diversity jurisdiction pursuant to 28 U.S.C. § 1332. Doc. 1 ¶ 7.

However, as the Court has previously explained, the Complaint fails to sufficiently allege
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as much because it does not “set forth with specificity the citizenship of the parties.”

Barclay Square Properties v. Midwest Fed. Sav. & Loan Ass’n of Minneapolis, 893 F.2d

968, 969 (8th Cir. 1990); see Doc. [36] at 2. More specifically, the Complaint fails to

allege Chap Arnold’s diverse citizenship because Utica “alleged nothing at all” about the

citizenship of Chap Arnold’s limited liability company members. See Doc. [36] at 2; see

also E3 Biofuels, LLC v. Biothane, LLC, 781 F.3d 972, 975 (8th Cir. 2015) (explaining that

the citizenship of a limited liability company “is equivalent to the citizenship of each of its

members”). As ever, “[t]he party seeking to invoke the jurisdiction of a federal court bears

the burden to establish that jurisdiction exists.” May Dep’t Stores Co. v. Wilansky, 900 F.

Supp. 1154, 1159 (E.D. Mo. 1995) (citation omitted).

       The Court has also repeatedly explained that Chap Arnold has its own obligation,

pursuant to the Federal Rules of Civil Procedure and the Eastern District of Missouri Local

Rules, to “file a Disclosure Statement that identifies ‘the name and citizenship of every

individual or entity whose citizenship is attributed to [it as a] party.” Doc. [36] at 3 (quoting

Doc. [34]); see also E.D. Mo. L.R. 2.09(B)(1) (emphasis added); accord Fed. R. Civ. P.

7.1(a)(2). Because Chap Arnold is a limited liability company, the Court instructed Chap

Arnold to ensure that any Disclosure Statement it filed “include[d] not only its members,

but also any members of members (i.e. first-tier sub-members), and the members of first-

tier sub-members (i.e. second-tier sub-members), and so on, until it reveals the citizenship

of all persons and entities within the ownership structure.” Doc. [31]. Each Disclosure

Statement that Chap Arnold has filed to date has been deficient. See Doc. [36] at 3–4

(describing the deficiencies).

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       Because of the parties’ independent obligations to either sufficiently allege or

disclose Chap Arnold’s citizenship, on February 5, 2025, the Court ordered Utica and Chap

Arnold to file a joint brief “that specifically and affirmatively establishe[d] this Court’s

subject-matter jurisdiction.” Id. at 4–5. On February 12, 2025, the parties filed their

response, explaining that, before the instant action was filed, “Chap Arnold Insurance

Agency, LLC was purchased by Keystone Agency Partners, LLC . . . and merged with KAI

Midwest Risk Partners, LLC.” Doc. [37] ¶ 3. The parties proceeded to list six levels of

relevant limited liability companies, their members, and their sub-members, culminating

in Keystone Agency Holdings, LLC. Id. ¶¶ 4–6. But because the parties provided no

information concerning the membership of Keystone Agency Holdings, LLC, Chap

Arnold’s citizenship remained an open question. See id. ¶ 6; see also Haas as Tr. of Bira

Rabushka Living Tr. v. Rabushka, 4:23-cv-1304-RLW, 2023 WL 6879663, at *1 (E.D. Mo.

Oct. 18, 2023) (remarking that “[f]or any members of an LLC that are themselves LLCs,

partnerships or limited partnerships, information concerning their underlying members or

partners must be alleged”). Acknowledging that “additional information [was] necessary

concerning the members of Keystone Agency Holdings, LLC, and any remaining limited

liability companies and their respective members, in order to establish subject matter

jurisdiction in this case,” Utica contemporaneously filed its Motion seeking leave to take

limited jurisdictional discovery regarding Chap Arnold’s citizenship. Doc. [38].

       On February 21, 2025, the Court set a Status Conference “to discuss the issue of this

Court’s subject matter jurisdiction.” Doc. [36]. At that conference, and at Chap Arnold’s

request, the Court gave Chap Arnold fourteen days to “file a notice that specifically and

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affirmatively (1) identifie[d] the members and sub-members that comprise its ownership

structure and (2) disclose[d] those members and sub-members’ states of citizenship so that

[the] Court can fully determine whether the jurisdictional requirements of 28 U.S.C.

§ 1332(a) are satisfied in this matter.” Doc. [41]. The Court also denied Utica’s Motion

seeking jurisdictional Discovery without prejudice, but it left open the possibility of

granting jurisdictional discovery if Chap Arnold’s response ultimately failed to supply the

information that was required.

       Chap Arnold provided its response on March 7, 2025. Doc. [44-1]. In its briefing,

Chap Arnold explains that Chap Arnold Insurance Agency LLC was formed in May of

2022, having previously been organized as Chap Arnold Insurance Agency, Inc. Id. ¶ 1.

Chap Arnold Insurance Agency LLC was then sold to KAI Midwest Risk Partners LLC

(“KAI Midwest”) on June 03, 2022. Id. ¶ 2. Under the terms of that sale, the selling

parties agreed to indemnify and hold KAI Midwest and its affiliates harmless for any

obligations “existing or arising on or prior to” the date of sale. Id. Chap Arnold argues

that these indemnity provisions, together with the nature of the claim at issue here, establish

Chap Arnold as a Missouri citizen for purposes of this lawsuit. More specifically, because

Arnold Procurements I, Inc., was the selling party, and because the subject matter of

Utica’s present claim arose prior to the sale, “Arnold Procurements I, Inc., owns the Asset

[sic] Chap Arnold, LLC, that remains and has the claim and subject of the dispute before

this Court.” Id. ¶ 3. As such, Chap Arnold argues that it is a Missouri citizen because

Arnold Procurements I, Inc., is a Missouri corporation and its two shareholders are

Missouri citizens. Id. ¶ 4.

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         Chap Arnold is mistaken.2 To repeat once more, “[t]he citizenship of a limited

liability company is equivalent to ‘the citizenship of each of its members,’” Doc. [36] at 2

(quoting Barclay, 893 F.2d at 969 (8th Cir. 1990), and the Court’s subject matter

jurisdiction is measured as of the time of filing, see Wagstaff & Cartmell, LLP v. Lewis,

40 F.4th 830, 838–39 (8th Cir. 2022); see also Doc. [36] at 4. As Chap Arnold’s most

recent submission makes abundantly clear, by the time this lawsuit was filed, KAI Midwest

had purchased all the membership interest in Chap Arnold Insurance Agency, LLC. Doc.

[44-1] at 1 (“Membership Interest Purchase Agreement”). When that occurred, it appears

KAI Midwest became Chap Arnold’s sole member. See Hibbs v. Berger, 430 S.W.3d 296,

314 (Mo. Ct. App. 2014) (“[I]ndividuals or entities that hold an ownership interest in a

limited liability company are designated as ‘members.’”); cf. Doc. [1] ¶ 4 (alleging that

KAI Midwest is Chap Arnold’s sole member). If true, Chap Arnold’s citizenship is

equivalent to that of KAI Midwest and, in turn, the members and sub-members that

compose KAI Midwest’s ownership structure.3 See Haas, 2023 WL 6879663, at *1.


2
  The indemnity obligations that Chap Arnold identifies might, for example, serve as a basis for third party practice in
this matter, see Fed. R. Civ. P. 14(a)(1) (“A defending party may . . . serve a summons and complaint on a nonparty
who is or may be liable to it for all or part of the claim against it.”), or a subsequent action for indemnity, but the Court
disagrees that those obligations have any bearing on Chap Arnold’s citizenship for purposes of federal subject matter
jurisdiction. Cf. Carden v. Arkoma Assocs., 494 U.S. 185, 195–96 (1990) (“[W]e reject the contention that to
determine, for diversity purposes, the citizenship of an artificial entity, the court may consult the citizenship of less
than all of the entity’s members.”). Nor do these indemnity obligations mean that Arnold Procurements I, Inc., is the
real party in interest to this action such that its citizenship is relevant to the Court’s analysis of subject matter
jurisdiction. See Lewis v. Clarke, 581 U.S. 155, 167 (2017) (describing the settled principle that the indemnity
obligations of third parties “do[] not, as a general rule, influence the diversity analysis”).
3
  The nature and extent of KAI Midwest’s purchase of Chap Arnold may hold further significance for this case. The
Court takes judicial notice of a Notice of Merger, filed with the Missouri Secretary of State, indicating that Chap
Arnold fully merged with KAI Midwest as a result of the buyout described above. See Am. Prairie Constr. Co. v.
Hoich, 560 F.3d 780, 796–97 (8th Cir. 2009) (citing Fed. R. Evid. 201(b)). Further, the Notice lists KAI Midwest as
the surviving entity of that merger. When a merger is consummated, “[t]he surviving entity is liable for all the debts
and obligations of each nonsurviving party.” Mo. Rev. Stat. § 347.133(3). By contrast, “the acquired company ceases
to exist.” Kirk v. Shaeffler Grp. USA, Inc., 887 F.3d 376, 389 (8th Cir. 2018) (citing Dodier Realty & Inv. Co. v. St.

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         Having found that Chap Arnold’s response to the Court’s February 21, 2025, Order

is insufficient, the Court will grant Utica leave to take jurisdictional discovery so that it

may attempt to ascertain these jurisdictional facts for itself. See Jordan v. Charter

Commc’ns, Inc., 4:19-cv-00035-SNLJ, 2019 WL 1409353, at *4 (E.D. Mo. Mar. 28, 2019)

(“It is within the sound discretion of the district court whether or not to allow jurisdictional

discovery.”). Utica will have forty-five days from the date of this order to undertake

jurisdictional discovery necessary to ascertain Chap Arnold’s citizenship for purposes of

federal subject matter jurisdiction. See Clark v. SL Western Lounge, LLC, 4:18-cv-01223-

JCH, 2018 WL 11433473, at *2 (E.D. Mo. Sept. 17, 2018) (granting plaintiff “forty-five

days to conduct limited discovery for the purpose of obtaining jurisdictional facts

establishing the citizenship of the members” of defendant LLC). This necessarily includes

discovery seeking the names and citizenship of the members and sub-members that

compose the ownership structure of KAI Midwest.

         Following the discovery period, Utica must file an amended Complaint that

sufficiently alleges this Court’s subject matter jurisdiction. See 28 U.S.C. § 1653 (allowing

courts to permit amendments concerning defective jurisdictional allegations). Failure to

do so will result in dismissal of this action without prejudice for lack of subject matter

jurisdiction. See Fed. R. Civ. 12(h)(3); see also Kokkonen v. Guardian Life Ins. Co. of


Louis Nat’l Baseball Club, 238 S.W.2d 321, 324–25 (Mo. 1951)). To date, neither party has raised a Rule 19 issue
on this basis. See Fed. R. Civ. P. 19(a)(1) (setting forth when a person or entity “must be joined as a party”). But this
is of no moment for present purposes because, either as Chap Arnold’s sole member or as the surviving entity post-
merger, the Court must know the citizenship of KAI Midwest if this case is going to proceed in this forum. See 13F
Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 3623 (3d ed.) (explaining that when two
entities merge, “the citizenship of the surviving entity is controlling; the citizenship of the predecessor company
becomes irrelevant”).


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Am., 511 U.S. 375, 377 (1994) (“It is to be presumed that a cause lies outside [a federal

court’s] limited jurisdiction, and the burden of establishing the contrary rests upon the party

asserting jurisdiction.” (citations omitted)).

       Accordingly,

       IT IS HEREBY ORDERED that the Court’s Order denying without prejudice

Plaintiff Utica Mutual Insurance Company’s Motion for Leave to Conduct Limited

Jurisdictional Discovery is VACATED.

       IT IS FURTHER ORDERED that Plaintiff Utica Company’s Motion for Leave to

Conduct Limited Jurisdictional Discovery, Doc. [38], is now GRANTED.

       IT IS FURTHER ORDERED that Plaintiff Utica Mutual Insurance Company

shall have forty-five (45) days from the date of this Order to conduct jurisdictional

discovery necessary to ascertain the citizenship of Defendant Chap Arnold Insurance

Agency, LLC, including the names and citizenship of the members and sub-members of

KAI Midwest Risk Partners, LLC, for purposes of this Court’s subject matter jurisdiction.

       IT IS FURTHER ORDERED that, no later than seven (7) days following the close

of jurisdictional discovery, Plaintiff shall file an amended complaint that sufficiently

alleges this Court’s subject matter jurisdiction.

       IT IS FURTHER ORDERED that Defendant Chap Arnold’s Motion for Leave to

File under Seal, Doc. [43], is GRANTED. The Clerk of Court is respectfully directed to

maintain Document 44 and Document 44-1 under seal indefinitely.

       IT IS FURTHER ORDERED that Defendant Chap Arnold’s Motion for a

Protective Order, Doc. [42], is DENIED without prejudice. Any future Motion in this

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regard must contain language that allows for and contemplates compliance with Eastern

District of Missouri Local Rule 13.05.

      IT IS FINALLY ORDERED that the Court’s March 17, 2025, Order to Show

Cause is hereby resolved. Accordingly, the parties’ Joint Motion for a Conference Call

regarding the Show Cause Response, Doc. [46], is DENIED as moot.

      Dated this 5th day of May 2025.



                                          MATTHEW T. SCHELP
                                          UNITED STATES DISTRICT JUDGE




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